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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:13CR3122
                                             )
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )          ORDER
MARY E. MERKEL and                           )
DANICIELIZ ALLISON,                          )
                                             )
                    Defendants.              )

      Pursuant to F.R. Crim. P. 36 and to correct a clerical error,

      IT IS ORDERED that:

        (1)    The Judgment regarding Mary E. Merkel (filing 125) does not impose joint
liability on Danicieliz Allison.

        (2)   The Judgment regarding Danicieliz Allison (filing 131) does not impose joint
liability on Mary E. Merkel.

      Dated February 9, 2015.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          Senior United States District Judge
